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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                      §
BRAZOS LICENSING AND                             §
DEVELOPMENT,                                     §
                                                 §         Case No. 6:20-cv-585 ADA
Plaintiff,                                       §
                                                 §
v.                                               §         JURY TRIAL DEMANDED
                                                 §
GOOGLE LLC,                                      §
                                                 §
Defendant.                                       §
                                                 §


   INDEX OF NON-CONFIDENTIAL DOCUMENTS TO GOOGLE’S MOTION TO
 STRIKE AND EXCLUDE CERTAIN OPINIONS OF TECHNICAL EXPERT DR TAMÁS
                             BUDAVÁRI

         The following documents are publicly filed as attachments to the above-referenced sealed

document:

         1. Exhibits 1, 4 and 9
         2. Order

Date: June 28, 2023                                  Respectfully submitted,

                                                     /s/ T. Gregory Lanier
                                                     T. Gregory Lanier (pro hac vice)
                                                     Jones Day
                                                     1755 Embarcadero Road
                                                     Palo Alto, California, 94303
                                                     +1 (650) 739-3939
                                                     +1 (650) 739-3900 facsimile
                                                     tglanier@jonesday.com

                                                     Michael E. Jones (Texas Bar No. 10929400)
                                                     Shaun W. Hassett (Texas Bar No. 24074372)
                                                     Potter Minton, P.C.
                                                     102 North College, Suite 900
                                                     Tyler, Texas, 75702
                                                     +1 (903) 597-8311
                                                     +1 (903) 593-0846 facsimile

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                                          mikejones@potterminton.com
                                          shaunhassett@potterminton.com

                                          Tracy A. Stitt
                                          Edwin O. Garcia
                                          Jones Day
                                          51 Louisiana Avenue NW
                                          Washington, DC 20001
                                          +1 (202) 879-3641
                                          tastitt@jonesday.com
                                          edwingarcia@jonesday.com




                                          Attorneys for Defendant Google LLC




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